              DECLARATION OF KATHERINE FARRIS, M.D.,
  IN SUPPORT OF PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING
                ORDER AND PRELIMINARY INJUNCTION

      I, Katherine Farris, M.D., declare as follows:

       1.     I am a physician licensed to practice medicine in North Carolina, South Carolina,

West Virginia, and Virginia. I am board-certified by the American Board of Family Physicians

in family medicine.

       2.     Since July 2013, I have been Planned Parenthood South Atlantic’s (PPSAT’s)

Interim Affiliate Medical Director, then Affiliate Medical Director, then Chief Medical Officer.

As Chief Medical Officer, I am responsible for ensuring the high quality of the medical care that

we provide to patients. In this position, I provide oversight, supervision, and leadership on all

medical services we provide, including abortion. As part of my role, I collaborate with other

members of PPSAT senior management to develop policies and procedures to ensure that the

medical services we provide follow evidence-based guidelines and comply with all relevant laws.

I also provide direct medical services for PPSAT.

       3.     I provide a range of family planning and reproductive health care to patients,

including (among other things) both medication and procedural abortion, as well as miscarriage

care, referrals for ectopic pregnancy care, contraception, and advanced gynecological care—such

as complicated Intrauterine Device (IUD) and Nexplanon removals (Nexplanon is a birth control

implant placed under the skin in the upper arm)—at PPSAT’s North Carolina health centers in

Winston-Salem, Charlotte, and Asheville (and periodically in Fayetteville, Wilmington, and

Chapel Hill), as well as in the other states in which I am licensed. I have been employed by PPSAT

since 2009 in various capacities as a medical doctor.




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        4.     I earned my medical degree from the Northwestern University Medical School in

 2000 and completed my residency at Valley Medical Center Family Practice, where I was Chief

 Resident in my last year. I am often called upon to present at educational institutions as an expert

 in abortion care and provider advocacy.

       5.      The facts I state here and the opinions I offer are based on my education, my years

 of medical practice, my expertise as a doctor and specifically as an abortion provider, my personal

 knowledge, my review of PPSAT business records, information obtained through the course of

 my duties at PPSAT, and my familiarity with relevant medical literature and statistical data

 recognized as reliable in the medical profession.

       6.      A copy of my curriculum vitae is attached as Exhibit A.

I.     SUMMARY OF OPINIONS

       7.      I submit this Declaration in support of PPSAT’s motion for a temporary restraining

 order and preliminary injunction against the new North Carolina Session Law 2023-14 (“S.B.

 20”) which as of July 1, 2023, will bar PPSAT from providing abortion care to survivors of sexual

 assault and incest after the twelfth week of pregnancy and through the twentieth week of

 pregnancy and seems to prevent us from providing early medication abortions to patients who

 have a very early pregnancy that is not yet visible by ultrasound (pregnancy of unknown location).

       8.      In particular, while that law states that abortion is lawful “[a]fter the twelfth week

 and through the twentieth week of a woman’s pregnancy, when the procedure is performed by a

 qualified physician in a suitable facility in accordance with G.S. 90-21.82A when the woman’s

 pregnancy is a result of rape or incest,” Section 90-21.82A says that “[a]fter the twelfth week of

 pregnancy, a physician licensed to practice medicine under this Chapter may not perform a




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 surgical abortion as permitted under North Carolina law in any facility other than a hospital.” S.B.

 20 § 90-21.81B(3); Id. § 90-21.82A(c).

       9.      This prohibition is contrary to the standard of care, under which abortions are

 routinely performed in outpatient settings through twenty weeks; is illogical as a matter of patient

 health and safety because even once S.B. 20 takes effect, outpatient health centers can still provide

 this same care in the case of miscarriage; and will only serve to harm patients who have

 experienced sexual assault.

       10.     And although the law states it is lawful to provide an abortion “during the first 12

 weeks of a woman’s pregnancy when a medical abortion is procured,” Id. § 90-21.81B(2), it also

 requires the physician to “[d]ocument in the woman’s medical chart the probable gestation age

 and intrauterine location of the pregnancy.” Id. § 90-21.83B(a)(7). This too will harm patients as

 not only is it safe to provide medication abortion to patients with positive pregnancy tests but

 whose pregnancies are too early to document an intrauterine location, but this early abortion care

 is all the more important given the twelve-week ban.

       11.     Abortion is extremely safe, but the medical risks associated with abortion increase

 with gestational age. Denying care to patients whose pregnancies cannot yet be seen on an

 ultrasound may force them to wait until later in their pregnancies before they can get the care they

 have chosen. This would expose them to unnecessary medical risk.

II.    PPSAT AND ITS SERVICES

       12.     PPSAT is a non-profit corporation organized under the laws of North Carolina.

 PPSAT offers a wide range of affordable and reliable reproductive and sexual health care services

 in our 14 locations across North Carolina, South Carolina, Virginia, and West Virginia. PPSAT

 operates nine health centers throughout North Carolina, located in Asheville, Chapel Hill,




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 Charlotte, Durham, Fayetteville, Greensboro, Raleigh, Wilmington, and Winston-Salem.

 Altogether, these health centers provide a full range of family-planning services, including well-

 person preventive care visits; breast exams; Pap tests; sexually transmitted infection (STI) testing;

 a wide range of U.S. Food and Drug Administration (FDA)-approved contraception methods,

 including highly effective, long-acting reversible contraceptives; pregnancy testing; risk

 assessments to screen for high-risk issues; referral services for pregnant women; urinary tract

 infection treatment; cervical cancer and testicular cancer screening; fertility awareness services;

 and vasectomies. PPSAT provides care to approximately 38,000 patients at its health centers in

 North Carolina each year.

        13.    PPSAT provides abortions at six health centers licensed under North Carolina law

 as abortion clinics located in Asheville, Chapel Hill, Charlotte, Fayetteville, Wilmington, and

 Winston-Salem. At these health centers, we provide both medication abortion through 77 days

 gestation as measured from the first day of the last menstrual period (LMP) and procedural

 abortion up to 13.6 to 19.6 weeks LMP depending on staffing. PPSAT has been providing

 procedural abortions past 12 weeks LMP for more than fifteen years in North Carolina. During

 the past five years, only 0.69 percent of PPSAT’s North Carolina patients who have received a

 procedural abortion have sought follow up hospital-based care. Following S.B. 20 taking effect

 on July 1, PPSAT will be forced to stop providing abortions after the twelfth week pregnancy,

 including in cases of rape and incest.

III.    ABORTION IS COMMON, SAFE, AND CRITICAL HEALTH CARE

        A.     Abortion Methods Performed in Outpatient Settings.

        14.    All methods of abortion provided at PPSAT—medication abortion, procedural

 abortion using aspiration and procedural abortion by dilation and evacuation (D&E)—are simple,




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straightforward medical treatments that typically take no more than 10 to 15 minutes, have an

extremely low complication rate, are almost always provided in outpatient, office-based settings,

and, unlike some other office-based procedures such as vasectomies, involve no incisions.

      15.      Although aspiration abortion and D&E are both sometimes referred to as “surgical”

abortion, they are not what is commonly understood to be surgery. Both aspiration abortion and

D&E are done through the natural opening of the vagina and cervix and therefore involve no

incisions. Both can be, and almost always are, performed in outpatient clinics like PPSAT by

clinicians adhering to widely-accepted medical standards of care. In 2022, 38% of the abortions

provided at PPSAT were procedural abortions.

            i. Medication Abortion

      16.      Medication abortion uses medication to cause uterine contractions to empty the

uterus. It requires no anesthesia or sedation. PPSAT provides the most common form of

medication abortion from the time a patient receives a positive pregnancy test through 11 weeks,

or 77 days, LMP.

      17.      In a typical medication abortion, the patient takes a combination of two prescription

drugs—mifepristone (also known as RU-486 or by its trade name, Mifeprex) and misoprostol

(also known as a prostaglandin analogue or by its trade name, Cytotec)—a day or two apart.

Mifepristone works by blocking the hormone progesterone, which is necessary to maintain

pregnancy. Misoprostol causes the cervix to open and the uterus to contract and empty. These

same medications are offered as a treatment option to patients who have a miscarriage with

retained tissue. Indeed, the process of medication abortion very closely approximates the process

of miscarriage.




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       18.      Mifepristone and misoprostol are safe—substantially safer than Tylenol and

Viagra, for example.1 The FDA approved mifepristone, by its brand name Mifeprex, in 2000.

Decades of experience with medication abortion since then have resoundingly confirmed its

safety and efficacy. Indeed, earlier this year, the FDA modified its dispensing requirements for

mifepristone to reflect the ever-growing body of evidence demonstrating the safety and

effectiveness of medication abortion.2 While the FDA-approved labeling for mifepristone reflects

its usage through 70 days LMP, there is significant evidence that supports its use through 77 days

LMP, as is provided at PPSAT.3

             ii. Aspiration Abortion

       19.      Aspiration abortion (also known as suction curettage or dilation & curettage) entails

using suction to empty the uterus. It is a straightforward procedure performed in the first and early

second trimester. PPSAT provides aspiration abortion up to 14 weeks LMP. A small plastic tube,

called a cannula, is passed through the cervical canal. The cannula is attached to a syringe or

electrical pump that creates gentle suction to empty the uterus.

       20.      Prior to starting the suction procedure, the provider dilates the cervix as needed to

allow the cannula to enter the uterus. An analgesic such as ibuprofen, an anti-anxiety medication



       1  See Analysis of Medication Abortion Risk and the FDA report, “Mifepristone U.S. Post-
Marketing Adverse Events Summary through 12/31/2018”, Advancing New Standards in
Reproductive                        Health                       (April                    2019),
https://www.ansirh.org/sites/default/files/publications/files/mifepristone_safety_4-23-2019.pdf.
        2 See Information About Mifepristone for Medical Termination of Pregnancy Through Ten

Weeks Gestation, FDA, https://www.fda.gov/drugs/postmarket-drug-safety-information- patients-
and-providers/information-about-mifepristone-medical-termination-pregnancy-through-ten-
weeks-gestation (last reviewed Mar. 23, 2023).
        3 See, e.g., Ilana G. Dzuba et al., A Repeat Dose of Misoprostol 800 mcg Following

Mifepristone for Outpatient Medical Abortion at 64–70 and 71–77 Days of Gestation: A
Retrospective Chart Review, 102 Contraception 104 (2020); Ilana G. Dzuba et al., A Non-
Inferiority Study of Outpatient Mifepristone-Misoprostol Medical Abortion at 64–70 days and 71–
77 Days of Gestation, 101 Contraception 302 (2020).

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such as Ativan or Valium, a local anesthetic such as Lidocaine, and/or moderate sedation may be

used during or prior to the procedure.

      21.      The entire procedure, including administration of local anesthesia, dilating the

cervix, and aspirating the uterine contents takes 3 to 5 minutes. It involves no incision, cutting, or

suturing.

      22.      Procedural abortions employ the same procedure and instruments used to treat a

miscarriage after embryonic or fetal demise has occurred naturally, and for pregnancies of the

same gestational age there is no difference in the risk of complications between a procedure to

manage early miscarriage and aspiration abortion. PPSAT currently also provides miscarriage

management.

            iii. D&E Abortion

      23.      Dilation and evacuation, or D&E, uses a combination of gentle suction and

additional instruments, including specialized forceps, to evacuate the pregnancy contents from

the uterus. While we generally refer to procedures starting at 14 weeks LMP as “D&E’s”,

instruments are routinely used in addition to suction starting around 15 weeks LMP, depending

on the provider’s individual practice and the patient’s individual medical characteristics.

      24.      Prior to the D&E procedure, the provider dilates the patient’s cervix to ease and

advance cervical dilation, which assures clinical safety. This may be done through medications

such as misoprostol, which softens the cervix, and/or the placement of osmotic dilators in the

cervix, which gradually swells as it absorbs moisture, causing the cervix to dilate. The provider

may also use mechanical dilators or a combination of these techniques. The provider then empties

the uterus using instruments or a combination of suction and instruments. Minimal to moderate

sedation may be used.




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       25.     In the early part of the second trimester, physicians may perform the cervical

preparation and evacuation on the same day. Later in the second trimester, the physician may start

the dilation process one day before the evacuation. In most cases, we begin the dilation process

for patients from 16 to 20 weeks LMP through the placement of osmotic dilators the day before

evacuation.

       26.     The entire evacuation procedure typically takes 10 to 15 minutes. Like aspiration

abortion, D&E does not involve any incision, cutting, or suturing. And like aspiration, the same

procedure can be and is used in cases of miscarriage.

       B.      Abortion is one of the safest procedures in medicine.

       27.     S.B. 20 does not improve patient health and safety. Abortion is one of the safest

procedures in contemporary medical practice and is safely and routinely provided in outpatient

settings in countries around the world. Leading medical authorities agree that abortion is one of

the safest procedures in medical practice,4 “stand[ing] in contrast to the extensive regulatory

requirements that state laws impose on the provision of abortion services.”5

       28.     In fact, major complications, defined as those requiring hospital admission, surgery,

or blood transfusion, occur in just 0.23 percent of abortions performed in outpatient, office-based

settings.6




       4  Nat’l Acads. of Scis., Eng’g, & Med., The Safety and Quality of Abortion Care in the
United States 77 (2018), available at http://nap.edu/24950 (“The clinical evidence makes clear that
legal abortions in the United States—whether by medication, aspiration, D&E, or induction—are
safe and effective.”).
        5 Id.
        6   Ushma D. Upadhyay et al., Incidence of Emergency Department Visits and
Complications After Abortion, 125 Obstetrics & Gynecology 175, 177 (2015); see also Ushma D.
Upadhyay et al., Abortion-related Emergency Room Visits in the United States: An Analysis of a
National Emergency Room Sample, 16 BMC Med. 1, 1 (2018).

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       29.    Abortion compares favorably, with a markedly lower complication rate, to other

procedures routinely performed in outpatient, office-based settings, including:

       ●      vasectomies, a form of male birth control that involves transecting and cauterizing

              the vas deferens, the tubes that carry sperm, resulting in complications two percent

              of the time while major complications requiring hospitalization occur in 0.2–0.8

              percent of cases;7

       ●      colonoscopies, an exam used to look for changes in the large intestine (colon) and

              rectum, such as swollen, irritated tissues, polyps or cancer, with a complication rate

              of 1.6 percent;8

       ●      wisdom teeth extraction, a surgical procedure to remove one or more of the four

              permanent teeth located at the back corners of the mouth, with a complication rate

              of 6.9 percent;9 and

       ●      tonsillectomies, surgical removal of the tonsils, with a complication rate of 7.9

              percent.10

       30.    Abortion is significantly safer than the alternative of carrying a pregnancy to term

and giving birth.11 The United States has the highest maternal mortality rate among high-income

countries (more than four times the rate of others in that group). Most concerningly, it is getting



       7   Christopher E. Adams & Moshe Wald, Risks and Complications of Vasectomy, 36
Urologic Clinics N. Am. 331 (2009).
        8   Isuru Ranasinghe et al., Differences in Colonoscopy Quality Among Facilities:
Development of a Post-Colonoscopy Risk-Standardized Rate of Unplanned Hospital Visits, 150
Gastroenterology 103, 103 (2016).
        9 Francois Blondeau & Nach G. Daniel, Extraction of Impacted Mandibular Third Molars:

Postoperative Complications and their Risk Factors, 73 J. Canadian Dental Ass’n 325 (2007).
        10 Jack L. Paradise et al., Tonsillectomy and Adenotonsillectomy for Recurrent Throat

Infection in Moderately Affected Children, 110 Pediatrics 7 (2002).
        11 Elizabeth G. Raymond & David A. Grimes, The Comparative Safety of Legal Induced

Abortion and Childbirth in the United States, 119 Obstet. & Gynecol. 215 (2012).

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worse. In 2021, the maternal mortality rate increased 40 percent from the previous year.12 That

year alone, 1,205 pregnant women died of pregnancy-related causes in the United States.13 The

Centers for Disease Control and Prevention (CDC) measure maternal mortality rates as the

number of maternal deaths per 100,000 live births.14 In 2021, the maternal mortality rate was 32.9

deaths per 100,000 live births.15

       31.      In contrast, the CDC reported 0.43 deaths per 100,000 legal abortions from 2013 to

2019.16 While the U.S. maternal mortality rate has significantly increased, there is no evidence

that has occurred for abortion care, making legal abortion approximately 12 to 14 times safer than

live birth.17

       C.       Abortions are safely performed in outpatient, office-based settings.

       32.      There is no medical reason to require abortion to take place in hospitals and not

abortion clinics. In North Carolina, as is done throughout the country, legal abortions are safely

and routinely performed in doctors’ offices and outpatient health center settings. Procedural

abortions are almost always provided in an outpatient setting; nationwide, only 3% of abortions

annually are performed in hospitals.18 In addition, abortions at outpatient clinics are most often

more affordable, easier to navigate, and require considerably less time for patients.



       12  Donna L. Hoyert, Ctrs. for Disease Control & Prevention, Nat’l Ctr. for Health Stats.,
Maternal Mortality Rates in the United States, 2021, at 1 (2023), available at https://www.cdc.
gov/nchs/data/hestat/maternal-mortality/2021/maternal-mortality-rates-2021.pdf.
        13 Id.
        14 Id.
        15 Id.
        16 Katherine Kortsmit et al., Abortion Surveillance—United States, 2020, 71 Morbidity &

Mortality Weekly Rep. 1, 6 (2022), available at https://www.cdc.gov/mmwr/volumes/71/
ss/pdfs/ss7110a1-H.pdf.
        17 Nat’l Acads. of Scis., Eng’g, & Med., supra note 4, at 75; Raymond & Grimes, supra

note 11, at 215.
        18 Rachel K. Jones et al., Abortion incidence and service availability in the United States,

2020, 54 Perspect. Sex Reprod. Health 128, 134 (2022).

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       33.    According to the National Academies of Sciences, Engineering, and Medicine,

“most abortions can be provided safely in office-based settings,” and a hospital setting is not

clinically necessary.19 Similarly, major medical associations, including the American College of

Obstetricians and Gynecologists (ACOG) and the American Public Health Association, reject the

notion that abortions should be performed in hospitals.20

       34.    The technique for a procedural abortion is clinically identical when performed in a

hospital or outpatient setting, and there is no scientific evidence indicating that abortions

performed in a hospital are safer than those performed in an appropriate outpatient, office-based

setting.21 To the contrary, as is true for nearly every medical procedure, fewer complications are

seen in settings that perform higher volumes of the same procedure, making abortion clinics like

PPSAT safer than hospitals for most abortion patients.22 In fact, at least one study demonstrated

that second-trimester terminations of pregnancy by D&E in well-selected patients in a dedicated

outpatient facility can be safer and less expensive than hospital-based D&E or induction of

labor.23 It is unreasonable, and a waste of hospital resources, to require a procedure to be

performed in a hospital when there is no medical indication or benefit. As with any other medical

procedure, clinic- or office-based care should be provided in a different setting when a patient’s

individual medical circumstances dictate such a need.




       19  Id. at 10, 77.
       20  ACOG, Guidelines for Women’s Health Care: A Resource Manual (4th ed. 2014).
        21 Sarah C. M. Roberts et al., Association of Facility Type with Procedural-Related

Morbidities and Adverse Events Among Patients Undergoing Induced Abortions, 319 JAMA 2497
(2018).
        22 Steve Sternberg & Geoff Dougherty, Risks are High at Low-Volume Hospitals, U.S.

News & World Report, May 18, 2015, 12:01 A.M., https://www.usnews.com/news/
articles/2015/05/18/risks-are-high-at-low-volume-hospitals.
        23 David K.Turok et al, Second trimester termination of pregnancy: a review by site and

procedure type, 77 Contraception 155, 155 (2008).

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      35.     PPSAT physicians have low abortion complication rates and superb safety records.

Because PPSAT specializes in providing patient-centered, holistic sexual and reproductive health

care, PPSAT patients benefit from receiving care from highly experienced and specialized

providers and staff. This is particularly important for the patient population we are talking about

here—survivors of sexual assault who may be more comfortable with a provider like Planned

Parenthood than having to navigate a hospital, especially one to which they need to travel outside

of their community.

      36.     The hallmark features that differentiate hospitals from abortion clinics include

system operations requirements, staffing requirements, and building construction requirements.24

Not only are these features irrelevant and unnecessary in the context of abortion care, they also

provide no medical benefit.

      37.     Unlike invasive surgical procedures, aspiration abortion, which uses gentle suction

to empty the uterus, and D&E, which uses a combination of gentle suction and instruments to

empty the uterus, do not involve incisions of any kind. In North Carolina, procedures with risks

similar to the risks associated with abortion—including inserting or removing and IUD;

endometrial biopsy; colposcopy; hysteroscopy (scoping of the cervix and uterus); Loop

Electrosurgical Excision Procedure (LEEP) (removing pre-cancerous cells from the cervix); and

miscarriage management, which, from a clinical perspective, involves the same procedures as

aspiration abortion—are routinely performed in outpatient clinics and physicians’ offices rather

than in hospitals. And the procedures noted above with higher complication rates than abortion

(like colonoscopies and wisdom teeth extraction) are routinely, and without controversy,

performed in outpatient, office-based settings throughout North Carolina.


      24 Compare 10A N.C. Admin. Code 13B.3201 (hospital requirements) with 10A N.C.
Admin. Code 14E .0100 et. seq. (abortion facility requirements).

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       38.    Even in the rare event abortion complications arise during a procedural abortion,

management can nearly always be safely and appropriately administered in an outpatient, office

setting.25 For example, most cases of hemorrhage (the technical term for bleeding) are managed

in the clinic setting with uterotonic medications, like misoprostol, that cause uterine contractions

and reduce bleeding and with uterine massage.26 Most cases of cervical laceration are managed

in the clinic setting either with Monsel’s Solution or suture.27 Cases of incomplete abortion are

generally managed through repeat aspiration or medication, and, at any rate, arise after completion

of the procedure and, even if the abortion took place in a hospital, would occur only after the

patient leaves the hospital.

       39.    In the rare event that a patient experiences infection as a result of a procedural

abortion, the infection would typically not develop until days after the procedure. At that time, a

patient diagnosed with infection would receive treatment with oral antibiotics on an outpatient

basis; i.e., they would take the antibiotics at home or a place of their choosing. Oral antibiotics

almost always resolve infection without any long-term or permanent injury to the patient. The use

of intravenous or intramuscular antibiotics to treat infection arising from procedural abortion is

rare, and both can be provided in an outpatient setting.

       40.    As discussed above, major abortion complications occur in fewer than one-quarter

of one percent (0.23 percent) of abortions.28 In the exceedingly rare event that a higher level of

care is needed to manage complications, patients are safely stabilized and transferred to a hospital.




       25 Roberts et al., supra note 21; Nat’l Acads. of Scis., Eng’g, & Med., supra note 4.
       26 Jennifer Kearns & Jody Steinhauer, Management of postabortion hemorrhage, 87
Contraception 331, 333 (2013).
       27 Id.
       28 Upadhyay et al., Incidence of Emergency Department Visits, supra note 6, at 175.




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In the last five years at PPSAT, 0.22 percent of procedural abortion patients have been transferred

to a hospital.

      D.      Medication abortion is safe to provide in early pregnancies before the
intrauterine location of the pregnancy can be determined.
       41.       Some patients present for abortions at very early gestational ages. At early

gestational stages, though the patient has a positive pregnancy test, it may be too soon to see an

intrauterine gestational sac via ultrasound. PPSAT follows an established protocol for safely

administering medication abortion in early pregnancies before the location of the pregnancy can

be visualized and determined. Such early administration of medication abortion has been shown

to be safe and effective in terminating the pregnancy, and there is no medical reason to deny

patients this care.29

       42.       Banning medication abortion, but not procedural abortion, for pregnancies of

unknown location is arbitrary and unnecessary. It would force patients either to undergo a

procedural abortion, when they feel that a medication abortion is best for them, or to delay their

abortion until the pregnancy can be seen within the uterus.

IV.    IMPACT ON PPSAT PATIENTS

       A.        Impact on Rape and Incest Survivors

       43.       Thousands of North Carolinians suffer sexual abuse each year, and they desperately

need access to abortion. Because of the non-consensual nature of rape and incest, these survivors

are at heightened risk of unwanted pregnancy. And many of them are also the most desperate to

terminate a pregnancy because of the traumatic circumstances in which that pregnancy is

occurring. The physical aspects of pregnancy, including the sense of losing control of one’s body,


       29  See, e.g., Alisa B. Goldberg et al., Mifepristone and Misoprostol for Undesired
Pregnancy of Unknown Location, 139(5) Obstet Gynecol. 771 (2022) (Rate of successful
medication abortion was 85.4% in pregnancies where location was unknown).

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can be particularly traumatic to patients who are otherwise not in control of their bodies or their

lives. For these survivors, pregnancy can trigger flashbacks, dissociative episodes, and other

symptoms of re-traumatization.

      44.     Additionally, many abuse or sexual assault survivors have health reasons for

seeking an abortion. There is a strong association between intimate partner violence, incest, and

mental health problems, and women may feel they are not healthy enough to parent a child. Or

they may need psychiatric medications that are inadvisable during pregnancy.

      45.     It is already hard for those who have experienced intimate partner violence to access

abortion care in many instances. In particular, it can be difficult if not impossible for victims to

escape their partner’s physical, emotional, and financial control long enough to access an

abortion, as they must often do so secretly. In cases where they have been physically isolated

from the community, they may not be able to leave their homes to seek routine medical care in

the hours or days directly following the assault, let alone later have access to transportation and

financial means to access other follow-up services or abortion providers.

      46.     Even when survivors are able to access reproductive care, the process of finding a

way to do so can delay them substantially, making them more likely to need abortion after twelve

weeks of pregnancy. These survivors may also be unsure of the gestational age of their

pregnancies, so they may present to outpatient clinics for the state-mandated informed consent

visit, but find they are beyond their first 12 weeks of pregnancy. Under S.B. 20, those patients

would have to be referred to a hospital provider despite the clinic being able to safely provide the

care, forcing the patient who has already experienced trauma to present to and share their story

with another provider.




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       47.    And, if the hospital-based provider will not accept the state-mandated informed

consent visit from the clinic (or if they cannot due to the clinic not having been able to provide

the name of the physician or the insurance information required by Section 90-21.83C, a provision

also challenged in this case), it would force the patient to receive that information again and to

restart the 72 hour waiting period.

       48.    Even if a rape or incest survivor already knew they were beyond their twelfth week

of pregnancy, they will have fewer options for care because there are not likely to be many

hospitals in the state that will provide abortions.

       49.    In addition, abortions at hospitals are generally much more expensive than they

would be at PPSAT. Patients who are able to get an appointment at a hospital may also face

lengthy wait times, added stress, complicated paperwork and other logistical requirements, loss

of confidentiality, and possibly increased medical risk from providers who may provide abortion

care infrequently. Particularly when general anesthesia is used, as is done in many hospitals, the

total appointment time, post-procedure recovery time, staffing and facility requirements, costs,

and procedure risks increase.

       50.    Though hugely variable, abortions in hospitals can cost thousands of dollars. Given

that only one in three Americans can comfortably cover a $400 emergency expense, the financial

burden of an abortion at a hospital will be insurmountable for many would-be patients.30 At

PPSAT, patients can obtain an abortion, as at other outpatient abortion clinics, for a fraction of

the cost charged by hospitals. At PPSAT, the cost of an abortion varies based on gestational age

from $620 to $1720.



       30  Bd. of Governors of the Fed. Reserve Sys., Report on the Economic Well-Being of U.S.
Households in 2021, at 36 (May 2022), available at https://www.federalreserve.gov/publications
/files/2021-report-economic-well-being-us-households-202205.pdf.

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       51.     Due to cost alone, if a patient could find a hospital willing to provide their abortion,

hospital treatment would not be feasible for many of PPSAT’s patients. Arranging for

transportation, childcare, and taking time off work to come to PPSAT is challenging enough.

Studies demonstrate increased barriers to access increase the likelihood a patient will not receive

care.31 A majority of patients seeking abortion are already parents. Many have multiple jobs or

jobs with inflexible or unpredictable schedules with no paid sick leave. Some are compromised

by physical and/or mental health conditions or struggle with a substance abuse disorder.

       52.     Studies also demonstrate that increased barriers to access increase the likelihood a

patient will not receive care.32 In addition, delay of any kind is particularly concerning because,

while abortion is safe, its risks increase with gestational age, as does the invasiveness of the

procedure and the need for deeper levels of sedation.

       53.     For all of these reasons, limiting access to care for survivors of rape and sexual

assault will cause great harm even to those who are able to access care in a North Carolina

hospital. But for many others, S.B. 20 will put that care out of reach and the only remaining

options will be to travel out of state to get an abortion or attempt to manage their abortion outside

of the medical system. In practice, for many, this will mean that they will be forced to remain

pregnant and ultimately give birth against their will.

               B.      Impact on Access To Early Abortion Care

       54.     If PPSAT is unable to offer medication abortion to patients who present with a

positive pregnancy test but a pregnancy of unknown location, this too will be devastating for



       31    See e.g., Benjamin P. Brown et al., Association of Highly Restrictive State Abortion
Policies With Abortion Rates, 2000-2014, 3 JAMA Network Open 1, 1 (2020) (“A highly
restrictive policy climate, when compared with a less restrictive one, was associated with a … 17%
decrease [in] the median abortion rate….”).
         32 Id.




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patients. This is especially so because S.B. 20 already imposes a requirement that patients make

two trips to a health center to access care (in addition to the follow up appointment that is required

to be scheduled for medication abortion patients). If we cannot go forward providing medication

abortion to these patients, they may need to make another, wholly medically unnecessary trip

which will further delay their access to care. Early access to care is always preferable, but this is

even more so because S.B. 20 bans almost all abortions after 12 weeks.

       55.    In these ways (and many others), S.B. 20 is not only harmful to our patients, but

also impairs PPSAT and its physicians’ ability to practice their profession and to satisfy their

personal and professional missions and obligations of providing high-quality, evidence-based

comprehensive reproductive health care to people in North Carolina.

       I declare under penalty of perjury that the foregoing is true and correct.


Dated: June 21, 2023                                  ________________________
                                                      Katherine Farris, M.D.




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              EXHIBIT A




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Employment
   Planned Parenthood South Atlantic                                            Winston-Salem/Raleigh, NC
       Chief Medical Officer: April 2020 – present
                Duties of Affiliate Medical Director with increased focus on strategic planning, oversight
                of new service lines including Primary Care, and increased advocacy work in support of
                PPSAT mission.
       Affiliate Medical Director: December 2014 – April 2020
                Clinical, policy, and administrative oversight for 14 health centers located throughout
                NC, SC, VA, and WV.
       Laboratory Director: December 2014 – present
                Oversight of non-waived laboratories WS, NC; AVL, NC; WILM, NC; CLT, NC; waived
                laboratory VIE, WV
       Interim Abortion Facility Administrator: December 2019 – March 2020
       Acting Vice President of Patient Services: March – June 2016; May – August 2017
       Interim Affiliate Medical Director: July 2013 – December 2014
       Reproductive Health Care: September 2009-present
                Provision of comprehensive family planning services to women of all ages as well as STI
                counseling, testing and treatment to men and women.
       PPFA Succession Planning Task Force, Member: April 2017 – March 2021
                Task force was charged with addressing some of the systemic challenges of abortion
                provider training and recruitment at Planned Parenthood affiliates.
       Medical Directors Council (MeDC), Mentor: 2015 – present
                Serve as mentor to new Medical Directors/Chief Medical Officers at other PPFA Affiliates.
       BetterHealth IT Board of Directors,
                Member: September 2020 – present
                Chair, Compliance Committee: January 2023 – present
                Board member for the organization responsible for providing revenue cycle services and
                supporting and rolling out Epic electronic medical records system across PPFA affiliates.
       (Prior to merger and name change January 2015, organization was named Planned Parenthood Health Systems, Inc.)
   Heywood Medical Group/Henry Heywood Hospital                            Westminster/Gardner, MA
       Family Practice/Obstetrics: August 2003 – May 2007
          Meetinghouse Family Practice; 16 Wyman Rd.; Westminster, MA 01473
               Provision of full-spectrum family medicine including comprehensive family planning and
               reproductive health care.
   Planned Parenthood League of Massachusetts                                  Boston/Worcester, MA
       Reproductive Health Care: August 2003 – May 2007
               Provision of comprehensive family planning services to women of all ages.
Education
   Valley Medical Center Family Practice Residency                                                                      Renton, WA
       Chief Resident: 2002-2003
       Residency: 2001-2003
       Internship: 2000-2001
   Northwestern University Medical School                                                                                Chicago, IL
       Degree: MD, 1995-2000
   Northwestern University College of Arts and Sciences                                                                 Evanston, IL
       Degree: BA, 1991-1995
       Major: Molecular and Cellular Biology      Minor: Religion Studies




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Certifications/Special Training
   Physician for Reproductive Health, Leadership Training Academy Fellow 2018-2019
   Basic Life Support/AED, Provider: renewed 10/2021
   Title X Family Planning Program Training, Provider: 2015
   CLIA Laboratory Director Training, Training for non-waived laboratory director: 2013
   Single-rod Hormonal Implant Insertion Training, Provider: 2011, Certificate #30001820273

Professional Organizations / Positions
   American Academy of Family Physicians (AAFP): 1995-present
   North Carolina Academy of Family Physicians: 2007-present
   National Abortion Federation (NAF): 2003-2005, 2018-present
   Physicians for Reproductive Health: 2018-present
   American College of Obstetricians and Gynecologists: 2020-present
   Massachusetts Academy of Family Physicians: 2003-2007
   Washington Academy of Family Physicians (WAFP): 2000-2003
   American Medical Women’s Association (AMWA): 1995-2000
           Northwestern University Chapter President: 1997-1998
           Vice-President: 1996-1997

Licenses
   NC Physician License, active: 143375-2009
   WV Physician License, active: 26126
   VA Physician License, active: 0101265486
   SC Physician License, active: MMD.84073 MD
   American Board of Family Physicians, Board Diplomate

Honors/Awards
   Sylvia Clark Award for Creativity in Clinical Services – Recipient 2023
       Honors a clinical services provider team from a Planned Parenthood affiliate who, through their
       creativity in clinical services, have demonstrated special commitment and ingenuity in applying the
       PPFA mission to ensure access to reproductive and sexual health care for all.
   Press Ganey Patient Experience Top Performing Provider 2020
       Ranked in the top 10% of providers across the country for providing the highest level of patient
       experience.
   2002 Roy Virak Memorial Family Practice Resident Scholarship Recipient
       Awarded by the Washington Academy of Family Practice on the basis of academic achievement,
       excellence in patient care, and strong service to the community.




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